
100 N.Y.2d 631 (2003)
In the Matter of LENARD BERRIAN, Appellant,
v.
DONALD SELSKY, as Director of Special Housing and Inmate Disciplinary Programs, et al., Respondents.
Court of Appeals of the State of New York.
Submitted August 11, 2003.
Decided October 28, 2003.
On the Court's own motion, appeal, insofar as taken from that portion of the Appellate Division order that annulled respondents' Tier II determination and directed respondents to expunge all references to said Tier II proceeding from appellant's institutional record and restore any good behavior allowance lost, dismissed, without costs, upon the ground that as to that part of the order appellant is not a party aggrieved (see CPLR 5511); appeal otherwise dismissed, without costs, upon the ground that no substantial constitutional question is directly involved. Motion for poor person relief dismissed as academic.
